Case 2:21-cv-12874-DPH-PTM ECF No. 44-3, PageID.222 Filed 01/25/23 Page 1 of 76




                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN

 MARCUS WALKER #374618,

       Plaintiff,                        NO. 2:21-cv-12874

 v                                       HON. DENISE PAGE HOOD

 DR. MARY GREINER, et al.,               MAG. PATRICIA T. MORRIS

       Defendants.
                                                                        /

                                  Exhibit B

                     MDOC Step III Grievance Report,
                       with Attached Grievances
     Case 2:21-cv-12874-DPH-PTM ECF No. 44-3, PageID.223 Filed 01/25/23 Page 2 of 76




MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   001
                                      USDC-ED No. 2:21-cv-12874
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   002
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                               MDOC Prisoner Step III Grievance Report
                                                                            1/1/2016 to Present

       Prisoner #:          374618          Last Name:        Walker                              First Name:   Marcus

           Step III       Grievance         Grievance Facility    Step I     Resolved Partially Denied Rejected Closed Date Mailed
            Rec'd          Identifier       Catagory           Received Date          Resolved

         10/24/2022   ARF-22-08-1079-12F1     12F1       13           8/9/2022                                           11/29/2022

       Notes:




          7/11/2022   ARF-22-05-0618-12E1     12E1       13           5/4/2022                                            8/2/2022

       Notes:




           6/2/2022   ARF-22-04-0522-12D       12D       13          4/14/2022                                           6/13/2022

       Notes:




          5/26/2022   ARF-22-03-0390-12E       12E       13          3/21/2022                                           6/13/2022

       Notes:




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MDOC Defs Exhibit B                                      Marcus Walker #374618 v Dr. Mary Greiner, et al.                             003
                                                                  USDC-ED No. 2:21-cv-12874
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                                     MDOC Prisoner Step III Grievance Report
                                                                                1/1/2016 to Present

       Prisoner #:               374618         Last Name:        Walker                              First Name:   Marcus

           Step III           Grievance         Grievance Facility    Step I     Resolved Partially Denied Rejected Closed Date Mailed
            Rec'd              Identifier       Catagory           Received Date          Resolved

          11/8/2021      ARF-21-08-1380-12D1      12D1       13          8/10/2021                                           11/24/2021

       Notes:




         10/18/2021       ARF-21-08-1468-28i       28i       13          8/23/2021                                           11/10/2021

       Notes: At Step III, changed from 12d1.




         10/18/2021       ARF-21-07-1302-28i       28i       13          7/27/2021                                           11/10/2021

       Notes: At Step III, changed from 12d1.




          8/12/2021      ARF-21-07-1135-28E        28E       13           7/6/2021                                           10/12/2021

       Notes:




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MDOC Defs Exhibit B                                          Marcus Walker #374618 v Dr. Mary Greiner, et al.                             004
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                               MDOC Prisoner Step III Grievance Report
                                                                            1/1/2016 to Present

       Prisoner #:          374618          Last Name:        Walker                              First Name:   Marcus

           Step III       Grievance         Grievance Facility    Step I     Resolved Partially Denied Rejected Closed Date Mailed
            Rec'd          Identifier       Catagory           Received Date          Resolved

          7/29/2021   ARF-21-07-1149-27Z       27Z       13           7/7/2021                                           10/6/2021

       Notes:




          6/21/2021   ARF-21-05-0859-27Z       27Z       13          5/24/2021                                           9/9/2021

       Notes:




          4/26/2021   ARF-21-03-0349-28I       28I       13           3/8/2021                                           7/19/2021

       Notes:




          3/29/2021   ARF-20-12-2458-12Z1     12Z1       13         12/29/2020                                           4/12/2021

       Notes:




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MDOC Defs Exhibit B                                      Marcus Walker #374618 v Dr. Mary Greiner, et al.                            005
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                              MDOC Prisoner Step III Grievance Report
                                                                           1/1/2016 to Present

       Prisoner #:         374618          Last Name:        Walker                              First Name:   Marcus

           Step III      Grievance         Grievance Facility    Step I     Resolved Partially Denied Rejected Closed Date Mailed
            Rec'd         Identifier       Catagory           Received Date          Resolved

          2/10/2020   ARF-20-01-0006-28I      28I       13           1/2/2020                                           2/28/2020

       Notes:




         11/27/2019   ARF-19-10-2533-27Z      27Z       13         10/24/2019                                           12/10/2019

       Notes:




         11/18/2019   ARF-19-10-2379-28I      28I       13          10/1/2019                                           12/6/2019

       Notes:




           9/3/2019   ARF-19-07-1712-28I      28I       13          7/15/2019                                           9/23/2019

       Notes:




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MDOC Defs Exhibit B                                     Marcus Walker #374618 v Dr. Mary Greiner, et al.                             006
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                               MDOC Prisoner Step III Grievance Report
                                                                            1/1/2016 to Present

       Prisoner #:          374618          Last Name:        Walker                              First Name:   Marcus

           Step III       Grievance         Grievance Facility    Step I     Resolved Partially Denied Rejected Closed Date Mailed
            Rec'd          Identifier       Catagory           Received Date          Resolved

          3/15/2019   ARF-19-01-0227-12D1     12D1       13          1/29/2019                                           4/11/2019

       Notes:




          1/18/2019   ARF-18-12-3108-12F       12F       13         12/11/2018                                           3/18/2019

       Notes:




          10/3/2018   ARF-18-08-2101-12F       12F       13          8/15/2018                                           1/15/2019

       Notes:




          6/15/2018   ARF-18-04-1061-28e       28e       13          4/17/2018                                           10/19/2018

       Notes:




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MDOC Defs Exhibit B                                      Marcus Walker #374618 v Dr. Mary Greiner, et al.                             007
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                              MDOC Prisoner Step III Grievance Report
                                                                           1/1/2016 to Present

       Prisoner #:         374618          Last Name:        Walker                              First Name:   Marcus

           Step III      Grievance         Grievance Facility    Step I     Resolved Partially Denied Rejected Closed Date Mailed
            Rec'd         Identifier       Catagory           Received Date          Resolved

          6/15/2018   ARF-18-04-1086-28e      28e       13          4/19/2018                                           10/31/2018

       Notes:




          3/30/2017   ARF-17-02-0332-12A      12A       13           2/7/2017                                            6/9/2017

       Notes:




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MDOC Defs Exhibit B                                     Marcus Walker #374618 v Dr. Mary Greiner, et al.                             008
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   009
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   010
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   011
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   012
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   013
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   014
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   015
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   016
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   017
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   018
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   019
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   020
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   021
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   022
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   023
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   024
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   025
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   026
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   027
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   028
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   029
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   030
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   031
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   032
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   033
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   034
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   035
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   036
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   037
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   038
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   039
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   040
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   041
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   042
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   043
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   044
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   045
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   046
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   047
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   048
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   049
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   050
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   051
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   052
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   053
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   054
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   055
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   056
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   057
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   058
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   059
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   060
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   061
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   062
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   063
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   064
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   065
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   066
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   067
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   068
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   069
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   070
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MDOC Defs Exhibit B          Marcus Walker #374618 v Dr. Mary Greiner, et al.   071
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